Case 20-00301 Document 1-6 Filed in TXSB on 01/13/20 Page 1 of 2

December 27, 2016

Robert Payton Davis
4834 Comal River Loop
Spring, TX 77386

RE: BK Retainer Agreement for representation of Robert Davis
Dear Mr. Davis:

This letter is to serve as our agreement in regard to your retention of Gwendolyn R. Wilds to

advise, prepare documents and represent you, in a Voluntary Chapter 13 pursuant to the

provisions of Title 13 of the United States Code. Our agreement is fully contained in this letter.

Any other agreement must be in writing and executed by all parties in order to have any (
binding effect, Gwendolyn Wilds has agreed to represent you in your Voluntary Chapter 13

case. This representation will be limited to:

(1) General advice regarding possible causes of action that might arise ancillary to the
bankruptcy case;

(2) General advice regarding the preparation of schedules, and statement of affairs, plan of
arrangement and other documents to be filed with the Court;

(3) Preparation of the voluntary petition, schedules, statement of affairs and other
documents necessary for the filing of the Voluntary Chapter 13 case;

(4) Response to general inquiries of creditors and other parties in interest in your
bankruptcy case;

(5) Attending any meetings with you;

(6) Negotiation of confirmable plan if possible; and

(7) Handling all matters in Bankruptcy Court related to your case.

You have in turn, agreed to pay a flat fee of $3,500 for legal services. Today you will pay a
deposit of $400.00 on or before 12/31/2016 outside the plan. The remainder of the deposit will
be paid as follows:

1/10/17 $650.00 $3 972i 9
2/10/17 450.00
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The fee will be used to pay all legal fees and expenses during the filing of the Chapter 13. The DW THE
balance of the fee ($2,000.00) will be included in the Chapter 13 Plan. No further fees or PLA NJ
expenses will be paid except by the Trustee. If payment of the fee is not made pursuant to the

terms of this agreement, you agree that Gwendolyn R. Wilds may withdraw as counsel,

Prior to filing this case, you must take a credit counseling course and obtain a certificate which
must be filed with the Petition. Shortly after filing this case, you will receive a packet of
information from the U.S. Trustee that contains, among other things, a list of items that he/she
Case 20-00301 Document 1-6 Filed in TXSB on 01/13/20 Page 2 of 2

will required before a meeting of creditors is held. Within thirty days after the Petition is filed
you must begin making monthly payments to the trustee by wage withholding, ACH or EFT.
These payments must be paid directly to the Trustee during the course of the case and they will
be paid until the case is closed by the Court after confirmation of a Plan, converted or
dismissed.

By execution of this letter of agreement, you are representing to me that all information that
you have furnished to me for inclusion in the schedules and statement of affairs is true and
correct. A duplicate original of this letter agreement is enclosed herein for your signature. By
signature of this letter agreement, you are representing that you have read the entire
agreement, and that you have no questions regarding the meaning of same.

After you have executed this agreement, please return one copy to me for my records and/or
one copy will be provided to you for your records. It is a pleasure to be of service to you.

APPROVED AND AGREED TO:

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~ 3920 FM 1960, Suite 200
Houston, TX 77068
281-444-5858 (Office)
281-444-8351 (Fax)
